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 1     JOAN JACOBS LEVIE, #179787
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 4
     Attorney for Defendant, SAVATH PRAK
 5

 6
                                         UNITED STATES DISTRICT COURT
 7

 8                                     EASTERN DISTRICT OF CALIFORNIA

 9                                                          *****
10                                                          )   CASE NO. CR-F-06-0313 LJO
     UNITED STATES OF AMERICA,                              )
11                                                          )   STIPULATION TO CHANGE THE DATE THE
              Plaintiff,                                    )
12                                                          )   DEFENDANT IS SCHEDULED TO REPORT
     vs.                                                    )   TO THE BUREAU OF PRISONS and ORDER
13                                                          )
     SAVATH PRAK, et al.,                                   )
14                                                          )
               Defendant.                                   )
15
     ______________________________________________________ )

16
     TO THE HONORABLE COURT, THE UNITED STATES ATTORNEY, AND ASSISTANT U.S.
17   ATTORNEY LAUREL MONTOYA:
18
               COMES NOW Defendant SAVATH PRAK by and through his legal counsel JOAN
19
     JACOBS LEVIE and requests, ex parte, that this Court order a change to the date that the
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     defendant is scheduled to report to the facility at which he will be designated by the Bureau of
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     Prisons. The U.S. Marshall’s office in Fresno has advised that the Bureau of Prisons has not
22
     completed Mr. Prak’s prison designation due to intervening amendments to the Judgment and
23
     Commitments. The U.S. Marshall’s office strongly recommends that Mr. Prak’s report date be
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     moved forward to May 1, 2009 to allow the Bureau of Prisons sufficient processing time.
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     DATED:       April 8, 2009
 1

 2                                                     Respectfully submitted,

 3                                                     /Joan Jacobs Levie_______
                                                       JOAN JACOBS LEVIE
 4
                                                       Attorney for Defendant
 5                                                     SAVATH PRAK
 6

 7                                                     /S/ Laurel Montoya
                                                       LAUREL J. MONTOYA
 8                                                     Assistant U.S. Attorney
 9

10                                            ORDER
11
           The court has reviewed the request in the above-captioned case and finds just cause to
12
     change defendant SAVATH PRAK’s report date from April 10, 2009 to May 1, 2009.
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15   IT IS SO ORDERED.
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17   Dated: _April 8, 2009_                  By__________/s/ Lawrence J. O’Neill_______
                                                      LAWRENCE J. O’NEILL
18                                              Judge of the United States District Court
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